        Case 1:17-cr-00232-EGS Document 212-3 Filed 05/28/20 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
            v.                      )                       No. 17-cr-00232 (EGS)
                                    )
MICHAEL T. FLYNN,                   )
                                    )
                  Defendant.        )
____________________________________)


                                ORDER GRANTING MOTION
                             FOR LEAVE TO FILE AMICUS BRIEF

       Upon consideration of the motion of the “Federal Practitioners” to file an amicus brief in

this matter, and the Court being fully apprised of the premises, it is hereby ORDERED that:

       1. The Motion for Leave to File Amicus Brief is GRANTED.

       2. The Clerk is directed to file the Brief of Amicus Curiae submitted with the Motion as

of the date of this Order.

       SO ORDERED.


DATED: _________, 2020.                             ___________________________________
                                                    EMMET G. SULLIVAN
                                                    United States District Judge
